        Case 2:23-cv-03125-EEF-JVM Document 8-1 Filed 08/14/23 Page 1 of 2
SMB 300 2105 CW ALL COMMERCIAL PROPERTY                                      EXHIBIT "A"

                  a) Vandalism;
                  b) Sprinkler leakage, unless you have protected the system against freezing;
                  c) Building glass breakage;
                  d) Water damage;
                  e) Theft; and / or
                  f)   Attempted theft.
             2) With respect to Covered Causes of Loss other than those listed in the Vacancy Provisions
                paragraphs above, we will reduce the amount we would otherwise pay for the loss or damage
                by 15%.
  H. Property Loss Conditions
     The following Property Loss Conditions apply:
     1. Abandonment
         There can be no abandonment of any property to us.
     2. Adjustment of Loss and Named Insured Clause
         This policy contains all the agreements between you and us concerning the insurance afforded. The
         first Named Insured shown in the Declarations is authorized to make changes in the terms of this policy
         with our consent. This policy's terms can be amended or waived only by endorsement issued by us and
         made a part of this policy.
         The first Named Insured shown in the Declarations is responsible for the payment of all premiums.
         If this policy insures more than one entity, the First Named Insured is authorized to act on behalf of all
         other insureds with respect to their rights, obligations and duties under this policy. Payment of loss or
         return premium under this policy shall constitute payment under this policy with respect to all insureds.
     3. Appraisal
         Appraisal applies after we confirm that the damage due to a loss is covered. If we and you disagree
         on the value of the property or the amount of loss, either may make written demand for an appraisal of
         the loss. In this event, each party will select a competent and impartial appraiser within 20 days. The
         two appraisers will select an umpire. If they cannot agree within 20 days, either may request that
         selection be made by a judge of a court having jurisdiction. The appraisers will state separately the
         value of the property and amount of loss. If they fail to agree, they will submit their differences to the
         umpire. A decision agreed to by any two will be binding. Each party will:
         a. Pay its chosen appraiser; and
         b. Bear the other expenses of the appraisal and umpire equally.
         Appraisers and umpires are not authorized to determine if coverage, exclusions, conditions and any
         other contractual issues exist between us. If there is an appraisal, we will still retain our right to deny
         the claim. The appraisal award cannot be used by either party in any proceedings concerning coverage,
         exclusions, conditions or any other contractual issues.
     4. Arbitration Clause
         All matters in dispute between you and us (referred to in this policy as "the parties") in relation to this
         insurance, including this policy’s formation and validity, and whether arising during or after the period
         of this insurance, shall be referred to an Arbitration Tribunal in the manner described below.
         Unless the parties agree upon a single disinterested or impartial Arbitrator within thirty (30) days of one
         party receiving a written request from the other for Arbitration, the Claimant (the party requesting
         Arbitration) shall appoint his or her disinterested or impartial Arbitrator and give written notice to the
         Respondent (the party receiving notice of Arbitration). Within thirty (30) days of receiving such notice

SMB 300 2103 CW                             Copyright material from                                 Page 27 of 39
ALL COMMERCIAL                      © Insurance Services Office, Inc., 2011
PROPERTY
        Case 2:23-cv-03125-EEF-JVM Document 8-1 Filed 08/14/23 Page 2 of 2
SMB 300 2105 CW ALL COMMERCIAL PROPERTY


         from the Claimant, the Respondent shall appoint his or her Arbitrator and give written notice to the
         Claimant
          If the two Arbitrators fail to agree on the selection of the disinterested or impartial umpire within thirty
         (30) days of the appointment of the second named Arbitrator, each Arbitrator shall submit to the other
         a list of three Umpire candidates, each Arbitrator shall select one name from the list submitted by the
         other and the Umpire shall be selected from the two names chosen by a lot drawing procedure to be
         agreed upon by the Arbitrators. Unless the parties otherwise agree, the Arbitration Tribunal shall consist
         of disinterested or impartial persons presently or formerly employed or engaged in a senior position in
         insurance underwriting or claims.
         The Arbitration Tribunal shall have power to fix all procedural rules for the holding of the Arbitration
         including discretionary power to make orders which it may consider proper in the circumstances of the
         case, regarding pleadings, discovery, inspection of documents, examination of witnesses and any other
         matter relating to the conduct of the Arbitration and may receive and act upon such evidence whether
         oral or written strictly admissible or not as it shall think fit.
         All costs of the Arbitration shall be in the discretion of the Arbitration Tribunal who may direct to, and
         by whom, and in what manner they shall be paid.
         Any Arbitration hearing shall take place in Nashville, Tennessee, unless some other locale is agreed
         by the Arbitrator or Arbitration Tribunal.
         The Arbitration Tribunal may not award exemplary, punitive, multiple or other damages of a similar
         nature.
         The award of the Arbitration Tribunal shall be in writing and binding. If either of the parties should fail
         to carry out any award the other may apply for its enforcement to a court of competent jurisdiction in
         any territory in which the party in default is domiciled or has assets or carries on business.
     5. Brands and Labels
         If branded or labeled merchandise covered by this policy is physically damaged and we elect to take
         all or any part of such merchandise at the value established by the terms of this policy, you may, at
         your own expense, stamp "SALVAGE" on the merchandise or its containers, or may remove or
         obliterate the brands or labels, if such stamp, removal or obliteration will not physically damage the
         merchandise. You must relabel the merchandise or containers in compliance with the requirements
         of law.
     6. Control of Damaged Merchandise
         Exercising reasonable discretion, you shall be the sole judge as to whether the goods involved in any
         loss under this policy are fit for normal intended use or consumption. No goods deemed by you to be
         unfit for consumption shall be sold or otherwise disposed of except by you or with your consent, but
         you shall allow us any salvage obtained by you on any sale or other disposition of such goods. You
         shall have full right to the possession of and retain control of all goods involved in any loss under this
         policy.
     7. Divisible Contract
         Subject to 16.c.17. Mortgage holders Section below, if the locations described in this policy include two
         or more buildings or the contents of two or more buildings, the breach of any condition of this policy in
         respect to any one or more of the buildings insured or containing the Covered Property, shall not
         prejudice the right to recover for physical loss or damage occurring in any building insured or containing
         the Covered Property where, at the time of such loss or damage, a breach of condition does not exist.
     8. Duties in the Event of Loss or Damage
         a. You must see that the following are done in the event of loss or damage to Covered Property:
             1) Notify the police if a law may have been broken.
             2) Give us prompt notice of the loss or damage, including a description of the property involved.

SMB 300 2103 CW                             Copyright material from                                  Page 28 of 39
ALL COMMERCIAL                      © Insurance Services Office, Inc., 2011
PROPERTY
